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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                 ______________________

   V.O.S. SELECTIONS, INC., PLASTIC SERVICES
      AND PRODUCTS, LLC, dba Genova Pipe,
      MICROKITS, LLC, FISHUSA INC., TERRY
            PRECISION CYCLING LLC,
                Plaintiffs-Appellees

                            v.

 DONALD J. TRUMP, in his official capacity as Pres-
 ident of the United States, EXECUTIVE OFFICE OF
    THE PRESIDENT, UNITED STATES, PETE R.
   FLORES, Acting Commissioner for United States
  Customs and Border Protection, in his official ca-
 pacity as Acting Commissioner of the United States
     Customs and Border Protection, JAMIESON
   GREER, in his official capacity as United States
   Trade Representative, OFFICE OF THE UNITED
   STATES TRADE REPRESENTATIVE, HOWARD
   LUTNICK, in his official capacity as Secretary of
    Commerce, UNITED STATES CUSTOMS AND
               BORDER PROTECTION,
                 Defendants-Appellants
                ______________________

                       2025-1812
                 ______________________

    Appeal from the United States Court of International
 Trade in No. 1:25-cv-00066-GSK-TMR-JAR, Judge Gary S.
Case: 25-1812     Document: 51     Page: 2    Filed: 06/10/2025




 2                            V.O.S. SELECTIONS, INC. v. TRUMP




 Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
 A. Restani.
             -------------------------------------------------

 STATE OF OREGON, STATE OF ARIZONA, STATE
    OF COLORADO, STATE OF CONNECTICUT,
   STATE OF DELAWARE, STATE OF ILLINOIS,
 STATE OF MAINE, STATE OF MINNESOTA, STATE
 OF NEVADA, STATE OF NEW MEXICO, STATE OF
        NEW YORK, STATE OF VERMONT,
              Plaintiffs-Appellees

                              v.

 PRESIDENT DONALD J. TRUMP, UNITED STATES
     DEPARTMENT OF HOMELAND SECURITY,
 KRISTI NOEM, Secretary of Homeland Security, in
 her official capacity as Secretary of the Department
 of Homeland Security, UNITED STATES CUSTOMS
   AND BORDER PROTECTION, PETE R. FLORES,
   Acting Commissioner for United States Customs
   and Border Protection, in his official capacity as
  Acting Commissioner for U.S. Customs and Border
             Protection, UNITED STATES,
                  Defendants-Appellants
                 ______________________

                         2025-1813
                   ______________________

     Appeal from the United States Court of International
 Trade in No. 1:25-cv-00077-GSK-TMR-JAR, Judge Gary S.
 Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
 A. Restani.
                  ______________________

                       ON MOTION
                   ______________________
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 V.O.S. SELECTIONS, INC. v. TRUMP                             3



 Before MOORE, Chief Judge, LOURIE, DYK, PROST, REYNA,
   TARANTO, CHEN, HUGHES, STOLL, CUNNINGHAM, and
                STARK, Circuit Judges. 1
 PER CURIAM.
                          ORDER
      The United States’s motions for a stay of the United
 States Court of International Trade’s rulings enjoining cer-
 tain Executive Orders imposing tariffs, the Plaintiffs-Ap-
 pellees’ oppositions, and the United States’s reply were
 presented to all circuit judges of this court in regular active
 service who are not recused or disqualified. Both sides
 have made substantial arguments on the merits. Having
 considered the traditional stay factors, see Fed. R. App. P.
 8; Nken v. Holder, 556 U.S. 418, 426 (2009), the court con-
 cludes a stay is warranted under the circumstances. See
 also Trump v. Wilcox, 605 U.S. ___, 145 S. Ct. 1415, 1415
 (2025) (per curiam) (“The purpose of . . . interim equitable
 relief is not to conclusively determine the rights of the par-
 ties, but to balance the equities as the litigation moves for-
 ward.” (quoting Trump v. Int’l Refugee Assistance Project,
 582 U.S. 571, 580 (2017)). The court also concludes that
 these cases present issues of exceptional importance war-
 ranting expedited en banc consideration of the merits in
 the first instance.
     Accordingly,
     IT IS ORDERED THAT:
     (1) The motions for a stay pending appeal are granted.
    (2) All motions for leave to file briefs amicus curiae re-
 garding the stay motions are granted.
     (3) These consolidated cases will be heard en banc un-
 der 28 U.S.C. § 46 and Federal Rule of Appellate Procedure


     1   Circuit Judge Newman did not participate.
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 4                             V.O.S. SELECTIONS, INC. v. TRUMP




 40(g). The court en banc shall consist of all circuit judges
 in regular active service who are not recused or disqualified
 in accordance with the provisions of 28 U.S.C. § 46(c).
     (4) Within two business days from the issuance of this
 order, the parties are directed to jointly file a proposed ex-
 pedited briefing schedule. The proposed briefing schedule
 should allow for this court to hold oral argument on July
 31, 2025 at 10:00 A.M. in Courtroom 201. If the parties
 cannot agree upon a schedule, the joint submission should
 include the parties’ alternative proposals.


                                               FOR THE COURT




 June 10, 2025
    Date
